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                              EXHIBIT C
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           NYCLU
            NEW YORK CIVIL LIBERTIES UNION
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                                  NYCLU - Common Cause New York
                                  New York Election Protection Effort

                                                      PROBLEM LOG

           COUNTY

           NAME OF VOLUNTEER

           CITY or TOWN                          f,r<-,-\wwcl                  ELECTION DISTRICT
                                                                                                          ----
           POLLING LOCATION                    ~~5_DW~ (fak
                                                         - ~_Q~ ~-~ ~~~h~ir~# W/~~?
           TIME OF DAY                            ~    ' \,\


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                     H
           TYPE OF PROBLEM
           _ Voter registration problem                                A Voter Intimidation
           _ Voter ID problem                                          _ Disability issues

           -   Felon Disfranchisement                                  _ Equipment/Ballot problems
           _ Voter Challenge by                                        _ Other Polling Place Problem
           _ Electioneering within 100 feet                                (described below)




         DESCRIPTION OF PROBLEM (lnclude Source & Location of P oblem if Known)
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          WHAT DID VOLUNTEER DO? _ _.s.-...;r
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          CALL TO 1·866-0UR VOTE MADE?                   YES                    NO

          WHO MADE THE CALL? -         -   - - - - - -- - - - - -- -


          VOTER CONTACT INFO.          (NOT REQUIRED-ONLY IF VOTER WANTS TO KEEP IN TOUCH I)

          Name of Voter               ).PSS (t-\ H
          Address

                                                                          ,,,,-=-.
          Phone number          Cc,3 1 )    {p $o - OS~ I            (@ ~ cell / work )'
          Email


          ANY OTHER COMMENTS:




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           NYCLU
            NEW YORK CIVIL LIBERTIES UNION



                                  NYCLU - Common Cause New York
                                  New York Election Protection Effort

                                               PROBLEM LOG

           COUNTY
                                             s~(Jo(k
           NAME OF VOLUNTEER

           CITY or TOWN                                          ELECTION DISTRICT _ _ __

           POLLING LOCATION

           TIME OF DAY



           TYPE OF PROBLEM
           _ Voter registration problem                    - Voter Intimidation
           _ Voter ID problem                              _ Disability issues

           - Felon Disfranchisement                        _ Equipment/Ballot problems

           _ Voter Challenge by                            dJ)Other Polling Place Problem
           _ Electioneering within 100 feet                ( described below)




         DESCRIPTION OF PROBLEM (Include Source & Location of Problem if Known)
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          CALL TO 1-866-0UR VOTE MADE?               YES                   NO

          WHO MADE THE C A L L ? - - - - - - - - - - - - - - -


          VOTER CONTACT INFO.      (N.OT REQUIRED-ONLY IF VQTER WANTS TO KEEP IN TOUCH!)

          Name of Voter
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          Address           G\ J... " L,D 10 i..ff'] f2f}
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          Phone number      (f.il_)   103-0~'cf                  (@ home/ cell/ work )i

          Email


          ANY OTHER COMMENTS:




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              Trns anorar su numcro de telcfono cclulnr, esr:i indicando quc accpta que nucstra organizaci6n le envie mensajcs de tcxto. Ustcd pu<.'<.le pedir <1uc lo cesemos cunndo qurcra.
                               Case 2:18-cv-03549-GRB-ST Document 39-3 Filed 03/01/19 Page 7 of 7 PageID #: 556




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